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           In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-653V
                                    Filed: October 28, 2014

*************************
JUNE REED, on behalf of                            *
M.C., a minor child                                *
                                                   *
                         Petitioner,               *       Ruling on Entitlement; Concession;
                                                   *       Cause-in-fact; Rotavirus;
v.                                                 *       Intussusception
                                                   *
                                                   *
SECRETARY OF HEALTH                                *
AND HUMAN SERVICES,                                *
                                                   *
             Respondent.                           *
*************************

                                    RULING ON ENTITLEMENT 1

Vowell, Special Master:

       On July 24, 2014, June Reed filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq, 2 [the “Vaccine
Act” or “Program”] on behalf of her minor daughter, M.C. The petition alleges that as a
result of the administration of a rotavirus vaccination on December 3, 2013, M.C.
suffered an intussusception which required surgical intervention. Petition at pp. 1-2.

        On October 28, 2014, respondent filed her Rule 4(c) Report [“Respondent’s
Report”], in which she concedes that petitioner is entitled to compensation in this case.
Respondent’s Report at p. 4. Specifically, respondent submits that “the temporal
association between the administration of M.C.’s December 3, 2013, rotavirus vaccine
and the onset of her intussusception is medically appropriate, and there is no other
identifiable alternate cause for M.C.’s onset of intussusception. Thus, causation-in-fact


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post this ruling and order on the United States Court of Federal Claims' website, in accordance with the
E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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is supported by the record and petitioner has satisfied the legal prerequisites for
compensation under the Vaccine Act.” Id. at p. 3

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                   s/Denise K. Vowell
                                   Denise K. Vowell
                                   Chief Special Master
